Case 4:07-cr-40049-JPG     Document 188 Filed 02/01/11       Page 1 of 3   Page ID
                                     #755



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,


Plaintiff,

v.


DEANNA L. MCCAY,


Defendant.                                                 No. 07-cr-40049-DRH


                          MEMORANDUM and ORDER

HERNDON, Chief Judge:

             On January 27, 2011, Defendant Deanna L. McCay filed a motion (Doc.

187) requesting that the Court divide up the $6,913.37 restitution owed equally

amongst McCay’s co-defendants, leaving McCay to pay a maximum of approximately

$1,400.00 as opposed to potentially having to pay the full amount jointly and

severally owed by McCay and the other co-defendants. Based on the following, the

Court dismisses McCay’s motion for lack of jurisdiction.

             Once a district court enters final judgment it lacks jurisdiction to

continue to hear related issues, except to the extent authorized by statute or rule.

See Carlisle v. United States, 517 U.S. 416 (1996). The following post-judgment

motions are allowed if timely filed. Under Federal Rule of Criminal Procedure 35,



                                    Page 1 of 3
 Case 4:07-cr-40049-JPG         Document 188 Filed 02/01/11             Page 2 of 3      Page ID
                                          #756



revision is proper only within 7 days, unless the prosecutor files an appropriate

motion or the court of appeals remands. Further, a Rule 33 motion for new trial

based in evidence must be brought within 3 years after the verdict and a Rule 33

motion for new trial based on other grounds must be brought within 7 days after the

verdict. Lastly, a collateral attack under 28 U.S.C. § 2255 has a 1 year statute of

limitations.

               Here, McCay does not cite any case law or statute which allows the Court

to consider McCay’s motion. Rule 35 is inapplicable because this motion is brought

approximately a year and a half after the sentencing and judgment (July 10, 2009),

it does not appear to be brought to correct the sentence arithmetical, technical, or

other clear error, and the Government has not moved to reduce the fine. Likewise,

Rule 33 does not apply because the motion does not appear to be brought on newly

discovered evidence and it was not filed within 7 days of the verdict to be timely

brought based on other reasons. Therefore, the only other possible procedural

avenue that McCay could bring this motion under is a § 2255 collateral attack.

Based on the case law, the Court must treat a post-judgment motion as a collateral

attack if it meets the description of § 2255. See Romandine v. United States, 206

F.3d 731 (7th Cir. 2000). After reviewing the pleading, it is not clear to the Court

that McCay intends to pursue a collateral attack.1 Because the Court finds that



       1
        In the event that McCay wishes to file a collateral attack, the Court advises McCay to
consult 28 U.S.C. § 2255, the Federal Rules of Criminal Procedure, and the Court’s Local
Rules on how to properly file such a petition.

                                          Page 2 of 3
Case 4:07-cr-40049-JPG      Document 188 Filed 02/01/11       Page 3 of 3    Page ID
                                      #757



McCay’s motion does not fall under any of the exceptions authorized by statute or

rule, the Court lacks jurisdiction to entertain the motion.

             Accordingly, the Court dismisses for want of jurisdiction McCay’s

January 27, 2011 motion (Doc. 187).

             IT IS SO ORDERED.

             Signed this 1st day of February, 2011.
                                                               David R. Herndon
                                                               2011.02.01
                                                               09:28:16 -06'00'
                                              Chief Judge
                                              United States District Court




                                    Page 3 of 3
